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16   Counsel for Defendants Dfinity USA
     Research LLC, Dfinity Foundation and
17   Dominic Williams

18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19

20   DANIEL VALENTI, Individually and on Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                       DECLARATION OF KEVIN J.
                                 Plaintiff,              ORSINI IN SUPPORT OF
22                                                       DEFENDANTS’ MOTION TO
               v.                                        DISQUALIFY ROCHE FREEDMAN
23
                                                         LLP
24   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
25
                                 Defendants.
26

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        DECLARATION OF KEVIN J. ORSINI IN SUPPORT OF DEFENDANTS’ MOTION TO DISQUALIFY
                                     ROCHE FREEDMAN LLP
                                    CASE NO. 3:21-CV-06118-JD
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 1          I, Kevin J. Orsini, declare:

 2          I am an attorney admitted to appear pro hac vice before this Court with respect to the above-

 3   captioned matter. I am an attorney with the law firm Cravath, Swaine & Moore LLP, counsel of

 4   record for Defendants Dfinity USA Research, LLC, Dfinity Foundation and Dominic Williams. I

 5   am one of the attorneys responsible for the representation of Defendants Dfinity USA Research,

 6   LLC, Dfinity Foundation and Dominic Williams in this matter and, as such, I have personal

 7   knowledge of the facts set forth in this declaration. If called as a witness for this purpose, I could

 8   and would testify competently under oath to the facts stated herein:

 9          1.       Attached hereto as Exhibit 1 is a true and correct copy of the August 26, 2022

10   article titled Ava Labs (Avalanche) attacks Solana & cons SEC in evil conspiracy with bought

11   law firm, Roche Freedman, published on cryptoleaks.info and available at

12   https://cryptoleaks.info/case-no-3.

13          2.       Attached hereto as Exhibit 2 is a true and correct copy of the Notice of

14   Withdrawal of Kyle W. Roche as Counsel, filed in Young v. Solana Labs, Inc. et al., 22-cv-

15   03912 (N.D. Cal.) (September 1, 2022) (ECF No. 28).

16          3.       Attached hereto as Exhibit 3 is a true and correct copy of the Notice of

17   Withdrawal of Kyle W. Roche as Counsel, filed in Lockhart v. BAM Trading Services Inc., et al.,

18   22-cv-03461 (N.D. Cal.) (September 1, 2022) (ECF No. 33).

19          4.       Attached hereto as Exhibit 4 is a true and correct copy of the Notice of

20   Withdrawal of Kyle W. Roche as Counsel, filed in Jeong v. Nexo Financial LLC, et al., 21-cv-

21   02392 (N.D. Cal.) (September 1, 2022) (ECF No. 70).

22          5.       Attached hereto as Exhibit 5 are true and correct copies of the following

23   documents filed in Hardin and Williams v. TRON Foundation, et al., 20-cv-02804 (S.D.N.Y.):

24                  Notice of Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 88);

25                  Response to Motion to Withdraw as Counsel (September 13, 2022) (ECF No. 89);

26                  Reply to Response to Motion to Withdraw as Counsel (September 19, 2022) (ECF

27                   No. 92);

28                  Response to Motion to Withdraw as Counsel (September 20, 2022) (ECF No. 93).
                                                  -1-
        DECLARATION OF KEVIN J. ORSINI IN SUPPORT OF DEFENDANTS’ MOTION TO DISQUALIFY
                                     ROCHE FREEDMAN LLP
                                    CASE NO. 3:21-CV-06118-JD
            Case 3:21-cv-06118-JD          Document 72-1        Filed 10/04/22     Page 3 of 4




 1          6.       Attached hereto as Exhibit 6 is a true and correct copy of the Notice of Motion to

 2   Withdraw as Counsel, filed in Anderson, et al. v. Binance, et al., 20-cv-02803 (S.D.N.Y.)

 3   (August 31, 2022) (ECF No. 80).

 4          7.       Attached hereto as Exhibit 7 are true and correct copies of the following

 5   documents filed in Messieh v. HDR Global Trading Ltd., No. 20‐cv‐3232 (S.D.N.Y.):

 6                  Notice of Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 105);

 7                  Defendants’ Response to Motion to Withdraw as Counsel (September 2, 2022)

 8                   (ECF No. 106);

 9                  Response to Motion to Withdraw as Counsel (September 6, 2022) (ECF No. 107);

10                  Response to Motion to Withdraw as Counsel (September 9, 2022) (ECF No. 108);

11                  Reply to Response to Motion to Withdraw as Counsel (September 9, 2022) (ECF

12                   No. 109).

13          8.       Attached hereto as Exhibit 8 are true and correct copies of the following

14   documents filed in In re Tether and Bitfinex Crypto Asset Litigation, 19-cv-9236 (S.D.N.Y.):

15                  Notice of Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 229);

16                  Response to Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 230);

17                  Response to Motion to Withdraw as Counsel (September 1, 2022) (ECF No. 231);

18                  Reply to Response to Motion to Withdraw as Counsel (September 2, 2022) (ECF

19                   No. 232);

20                  Affidavit of Kyle W. Roche (September 2, 2022) (ECF No. 232-1);

21                  Reply to Response to Motion to Withdraw as Counsel (September 2, 2022) (ECF

22                   No. 233);

23                  Response to Motion to Withdraw as Counsel (September 2, 2022) (ECF No. 234);

24                  Response to Motion to Withdraw as Counsel (September 5, 2022) (ECF No. 235);

25                  Reply to Response to Motion to Withdraw as Counsel (September 6, 2022) (ECF

26                   No. 236);

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        DECLARATION OF KEVIN J. ORSINI IN SUPPORT OF DEFENDANTS’ MOTION TO DISQUALIFY
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 1                   Response to Motion to Withdraw as Counsel (September 30, 2022) (ECF No.

 2                    248).

 3          9.        Attached hereto as Exhibit 9 are true and correct copies of the following

 4   documents filed in Williams v. Block.one, et al., 20‐cv‐2809 (S.D.N.Y.):

 5                   Memorandum Opinion on motions for final approval of class action settlement

 6                    and attorneys’ fees (August 15, 2022) (ECF No. 146);

 7                   Notice of Motion to Substitute Lead Plaintiff and to Approve Lead Counsel

 8                    (August 22, 2022) (ECF No. 148);

 9                   Memorandum of Law in Support of Motion to Substitute Lead Plaintiff and to

10                    Approve Lead Counsel (August 22, 2022) (ECF No. 149);

11                   Notice of Motion to Withdraw Roche Freedman LLP (September 1, 2022) (ECF

12                    No. 154).

13          10.       Attached hereto as Exhibit 10 is a true and correct copy of the Motion to

14   Disqualify Roche Freedman LLP, filed in Kleiman v. Wright, No. 22-11150 (11th Cir. September

15   6, 2022).

16          11.       Attached hereto as Exhibit 11 is a true and correct copy of the Verified

17   Complaint, filed in Cyrulnik v. Roche Freedman, et al., No. 2021-5837-CA-01 (Fla. 11th Cir.

18   Ct., Mar. 9, 2021) (Dkt. No. 2).

19          Pursuant to 28 U.S.C § 1746, I declare under penalty of perjury that the foregoing is true

20   and correct and that I executed this declaration on October 4, 2022 in New York, NY.

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22                                                  /s/ Kevin J. Orsini
23                                                  Kevin J. Orsini

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        DECLARATION OF KEVIN J. ORSINI IN SUPPORT OF DEFENDANTS’ MOTION TO DISQUALIFY
                                     ROCHE FREEDMAN LLP
                                    CASE NO. 3:21-CV-06118-JD
